                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION
                                  2:21-CV-34-JG

LILLIE BROWN CLARK, Administrator for )
the Estate of Andrew Brown, Jr.,      )
                                      )
               Plaintiff,             )
                                      )
               v.                     )                                ORDER
                                      )
DANIEL MEADS, Investigator, in his    )
individual capacity, et al.,          )
                                      )
               Defendants.            )

       The parties have entered into a settlement agreement in this case providing for two

payments totaling $3,000,000.00 on behalf of defendants to plaintiff (inclusive of any award of

fees and expenses to plaintiff’s counsel). One payment, in the amount of $2,000,000.00, is to be

made by Sedgwick, Inc., acting as administrator of the North Carolina Counties Liability and

Property Joint Risk Management Agency. The other payment, in the amount of $1,000,000.00,

is to be made by the Pasquotank County Finance Office, acting for Pasquotank County. The

parties have further agreed that these sums be deposited with the court within 15 days of the date

of this order, subject to subsequent disbursement by court order.

       Therefore, as directed in the teleconference held with counsel in this case earlier today, it

is ORDERED as follows:

       1.      No later than 1 July 2022, Sedgwick, Inc. shall deliver to the Clerk of Court a

check in the amount of $2,000,000.00, pursuant to Rule 67(a) of the Federal Rules of Civil

Procedure.




            Case 2:21-cv-00034-JG Document 104 Filed 06/17/22 Page 1 of 2
       2.      No later than 1 July 2022, the Pasquotank County Finance Office shall deliver to

the Clerk of Court a check in the amount of $1,000,000.00, pursuant to Rule 67(a) of the Federal

Rules of Civil Procedure.

       3.      The Clerk shall receive the above-referenced funds from Sedgwick, Inc. and the

Pasquotank County Finance Office into the Clerk’s registry, subject to further order of the court.

       This 16th day of June 2022.


                                                     _________________________
                                                     James E. Gates
                                                     United States Magistrate Judge




                                                2

            Case 2:21-cv-00034-JG Document 104 Filed 06/17/22 Page 2 of 2
